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10
11                                  UNITED STATES DISTRICT COURT

12                                          DISTRICT OF NEVADA
13    KELLY GREEN, an individual,                          Case No.: 2:20-cv-00834-APG-EJY
14                           Plaintiff,                    STIPULATION AND (PROPOSED)
15
      v.                                                   ORDER TO EXTEND DISCOVERY
                                                           DEADLINES
16    SAMS CLUB.; Does 1-X, and ROE
      CORPORATIONS 1-X, inclusive,                         [SECOND REQUEST)
17                          Defendant(s).
18
19
20           Plaintiff KELLY GREEN (hereinafter "Plaintiff') and Defendant SAM'S WEST INC.

21   (erroneously sued as "SAMS CLUB") (hereinafter "Defendant" or "Sam's Club"), by and through their

22   respective counsel of record, do hereby stipulate to extend the remaining deadlines in the current

23   scheduling order and discovery plan in this matter for a period of sixty (60) days for the reasons

24   explained herein.

25           Pursuant to Local Rule 6-1(b), the parties hereby aver that this is the second such discovery

26   extension requested in this matter.

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                                                  5th




                               November 5, 2020
